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AO 199A (Rev. 12111) Order Setting Conditions of Release                                                     Page I of   3   Pages




                                        UNITED STATES DISTRICT COURT
                                                                     for the
                                                           Eastern District of California


                    United States of America                             )
                                   v.                                    )
                                                                         )        Case No.     1:13-cr-00412 LJO BAM
                   RAMON GOMEZ GARCIA                                    )
                               Defendant
                                                                         )

                                        ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant's release is subject to these conditions:

(I)   The defendant must not violate federal, state, or local law while on release.

(2)   The defendant must cooperate in the collection of a DNA sample if it is authorized by 42 U .S.C. § 14135a.

(3)   The defendant must advise the court or the pretrial services office or supervising officer in writing before making
      any change of residence or telephone number.

(4)   The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
      the court may impose.

      The defendant must appear at:               United States Courthouse, 2500 Tulare Street, Fresno, CA
                                                                                            Place
       Courtroom 8 before Magistrate Judge Barbara A. McAuliffe

      on                                                            1/27/2014 1:00pm
                                                      -----~----~-~~----~----~




                                                                        Date and Time


       If blank, defendant will be notified of next appearance.

(5)   The defendant must sign an Appearance Bond, if ordered.
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               GARCIA, Ramon Gomez
               Dkt. No. 13-CR0412

                                                                ADDITIONAL CONDITIONS OF RELEASE

               Upon finding that release by one of the above methods will not by itself reasonably assure the appearance of the defendant and the safety of other
               persons and the community, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:

               0     (6)         The defendant is placed in the custody of:

                                       Name of person or organization

                           who agrees (a) to supervise the defendant in accordance with all conditions of release, (b) to use every effort to assure the appearance of the
                           defendant at all scheduled court proceedings, and (c) to notify the court immediately in the event the defendant violates any conditions of
                           release or disappears.

                                       SIGNED: ____~~~------
                                                   CUSTODIAN

               ltl   (7)         The defendant shall:

                     ltl         (a)     report on a regular basis to the following agency:
                                         Pretrial Services and comply with their rules and regulations;
                     ltl         (b)     report in person to the Pretrial Services Agency on the first working day following your release from custody;
                     ltl         (c)     cooperate in the collection ofa DNA sample;
                     ltl         (d)     reside at a location approved by the PSO, and not move or be absent from this residence for more than 24 hrs. without
                                         prior approval of the PSO; travel restricted to California, unless otherwise approved in advance by PSO;
                     ltl         (e)     report any contact with law enforcement to your PSO within 24 hours;
                     0           (f)     be released to the third-party of and you shall reside at            and participate in the                                      as
                                         directed by program staff and Pretrial Services;
                     ltl         (g)     not associate or have any contact with co-defendants, unless in the presence of counsel or otherwise approved in advance
                                         by the PSO;
                     ltl         (h)     maintain or actively seek employment, and provide proof thereof to the PSO, upon request;
                     0           (i)     refrain from possessing a firearm/ammunition, destructive device, or other dangerous weapon; additionally, you shall provide
                                         written proof of divestment of all firearms/ammunition, currently under your control;
                     0           U)      submit to drug or alcohol testing as approved by the PSO. You shall pay all or part of the costs of the testing services based upon
                                         your ability to pay, as determined by the PSO;
                     ltl         (k)     refrain from (excessive) use of alcohol, or any use of a narcotic drug or other controlled substance without a prescription
                                         by a licensed medical practitioner; and, you shall notify Pretrial Services immediately of any prescribed medication(s).
                                         However, medical marijuana, prescribed or not, may not be used;
                     0           (I)     participate in a program of medical or psychiatric treatment, including treatment for drug or alcohol dependency, as approved by
                                         the PSO; you shall pay all or part of the costs of the counseling services based upon your ability to pay, as determined by the
                                         PSO;
                     0           (m)     take all medications as prescribed by a licensed medical practitioner;
                     0           (n)     report any prescriptions provided by a licensed medical practitioner to the PSO within 48 hours of receipt;
                     ltl         (o)     surrender your Mexican passport to the Clerk, United States District Court, and obtain no passport during the
                                         pendency of this case;
                     0           (p)     not obtain a passport or other traveling documents during the pendency of this case;
                     ltl         (q)     executed a bond or an agreement to forfeit upon failing to appear or failure to abide by any of the conditions of release,
                                         the following sum of money or designated property: Within 30 days, you shall post a property bond in the amount of the
                                         entire equity in the property located at 224 and 230 Tucker Street, Arvin, California, 93203. You shall be released
                                         pending the posting of the bond.
                     0           (r)     post with the court the following indicia or ownership of the above-described property, or the following amount or percentage of
                                         the above-described money:
                     0           (s)     execute a bail bond with solvent sureties in the amount of$
                     0           (u)     Your release on bond shall be delayed until (date & time).
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                                           ADVICE OF PENALTIES AND SANCTIONS

TO THE DEFENDANT:

YOU ARE ADVISED OF THE FOLLOWING PENAL TIES AND SANCTIONS:

       Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
imprisonment, a fine, or both.
       While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years
and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be
consecutive (i.e., in addition to) to any other sentence you receive.
       It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or
attempt to intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or
intimidation are significantly more serious if they involve a killing or attempted killing.
       If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
       (I) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more- you will be fined
             not more than $250,000 or imprisoned for not more than I 0 years, or both;
       (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years- you will be fined not
             more than $250,000 or imprisoned for not more than five years, or both;
       (3) any other felony- you will be fined not more than $250,000 or imprisoned not more than two years, or both;
       (4) a misdemeanor- you will be fined not more than $100,000 or imprisoned not more than one year, or both.
       A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                                                   Acknowledgment of the Defendant

       I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all
conditions of release, to appear as directed, and surrender to serve any sentence imposed. I am aware of the penalties and sanctions
set forth above.




                                                                               0 dr02/7 _,
                                                                           --- ----- --- --- - - -- ----~-- c:::.-
                                                                                          Defendant's Signature




                                                Directions to the United States Marshal

( [{]) The defendant is ORDERED released after processing.




Date: 12/5/2013


                                                          Jennifer L. Thurston, U.S. Magistrate Judge
                                                                                          Printed name and title




                    DISTRIBUTION:      COURT      DEFENDANT     PRETRIAL SERVICE         U.S. ATTORNEY               U.S. MARSHAL
